              Case 1:18-cr-00098-SCJ-LTW Document 229 Filed 09/09/22 Page 1 of 7

                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF GEORGIA
                                           ATLANTA DmSION


UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIIVONAL CASE

V.                                                              Case Number: 1:1 8-CR-0098-SCJ
                                                                USM Number: 71557-019
MITZI BICKERS
                                                                Drew Findlins and Marissa Goldberg
                                                                Defendant's Attorney




THE DEFENDANT:

The defendant was found guilty on count(s) 1,4-10, 12 after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Tit!e& Section NatureofOffense Offense Ended                                                        Count


18U.S.C.§371                         Conspiracy to Commit Bribery May 23, 2010


18U.S.C.§1857                        Money Laundering                        December 31,2014        4-6
And 18 USC §2


18 U.S.C.§§ 1343 and 1349            Wire Fraud                              May 2013                7-10



26 U.S.C. § 7206(1)                  Filing False Tax Returns                April 20,2012            12

The defendant is sentenced as provided m pages 2 through 7 of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.


The defendant has been found not guilty on Count(s) 2,3, 11.


It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed
by this judgment are folly paid. If ordered to pay restitution, the defendant must notify the court and United States
Attorney of material changes in economic circumstances.
            Case 1:18-cr-00098-SCJ-LTW Document 229 Filed 09/09/22 Page 2 of 7


DEFENDANT: MITZI BICKERS
CASE NUMBER: 1:18-CR-0098-SCJ Judgment - Page 2 of 7




                                           September 8, 2022
                                           Date oflmpo^tiop of Judgment


                                                            1,^ c.
                                                                LJ. ///^^
                                           Signature of Judge /


                                            STEVE C. JONES, U. S. DISTRICT JUDGE
                                           Name and Title of Judge


                                                    ^^M^M ^. ^£>3-y-
                                           Date ' /
                 Case 1:18-cr-00098-SCJ-LTW Document 229 Filed 09/09/22 Page 3 of 7

DEFENDANT: MITZI BICKERS
CASE NUMBER: 1:18-CR-0098-SCJ Judgment-Page 3 of 7


Judgment in a Criminal Case
Sheet 2 - Imprisonment

                                                IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for
a total term of ONE HUNDRED SIXTY-EIGHT (168) MONTHS: sixty (60) months as to Count 1; one
hundred twenty (120) months as to Counts 4-6; one hundred sixty-eight (168) months as to Counts 7-10;
and thirty-six (36) months as to Count 12, with aU such terms to be served CONCURRENTLY.

         The court makes the following recommendations to the Bureau of Prisons: that defendant be designated
to FCI Aliceville for service of sentence.


         The defendant shall surrender for service of sentence at the institution designated by the Bureau of
Prisons: As notified by the United States Marshal.

                                                     RETURN

I have executed this judgment as follows:




 Defendant delivered on to


 at _ , with a certified copy of this judgment.



                                                                           UNITED STATES MARSHAL




                                                                        DEPUTY UNITED STATES MARSRAL
                 Case 1:18-cr-00098-SCJ-LTW Document 229 Filed 09/09/22 Page 4 of 7

DEFENDANT: MITZI BICKERS
CASE NUMBER: L18-CR-0098-SCJ Judgment - Page 4 of 7


Judgment in a Criminal Case
Sheet 3 - Supervised Release


                                          SUPERVISED RELEASE

    Upon release from imprisonment, you will be on supervised release for a total term of THREE (3)
YEARS: three (3) years as to Counts 1 and 4-10 and one (1) year as to Count 12, with all terms to run
CONCURRENTLY.




                                       MANDATORY CONDITIONS


1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within
    15 days of release from imprisonment and at least two periodic dmg tests thereafter, as determined by the
    court.

4. You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing
    a sentence of restitution. Restitution payments must be made to Clerk, U.S. District Court, Northern Dist-ict
    of Georgia, 2211 U.S. Courthouse, 75 Ted Turner Dr. SW, Atlanta, GA 30303.
5. You must cooperate m the collection ofDNA as directed by the probation officer.


You must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.
                 Case 1:18-cr-00098-SCJ-LTW Document 229 Filed 09/09/22 Page 5 of 7


DEFENDANT: MITZI BICKERS
CASE NUMBER: 1:18-CR-0098-SCJ Judgment--Page 5 of 7


                                     STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

   1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
       time frame.
   2. After initially reporting to the probation office, you will receive mstructions from the court or the probation officer about how
        and when you must report to the probation officer, and you must report to the probation officer as instructed.
   3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
        from the court or the probation officer.
   4. You must answer truthfully the questions asked by your probation officer.
   5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
        arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
        notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
        officer within 72 hours of becoming aware of a change or expected change.
   6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
        officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
   7. You must work fuU time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
        from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
        excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your
       job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer
        at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
   8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
         convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
        the probation officer.
   9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
   10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
       that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
       mmchakus or lasers).
   11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
        without first getting the permission of the court.
   12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
        require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact
        the person and confirm that you have notified the person about the risk.
   13. You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.eov

I understand that a violation of any of these conditions of supervised release may result in modification, extension, or revocation of my
term of supervision.




 Defendant's Signature _ Date
 USPO's Signature _ Date
              Case 1:18-cr-00098-SCJ-LTW Document 229 Filed 09/09/22 Page 6 of 7


DEFENDANT: MITZI BICKERS
CASE NUMBER: 1:18-CR-0098-SCJ Judgment - Page 6 of 7



                                 SPECIAL CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the followmg special conditions of supervision.


You must make full and complete disclosure of your finances and submit to an audit of your financial documents
at the request of your probation ofScer. You must provide the probation officer with fall and complete access to
any requested financial information and authorize the release of any financial information. The probation office
may share the financial information with the United States Attorney's Office.

You must not incur new credit charges, or open additional Imes of credit without the approval of the probation
officer.


You must pay any ordered financial penalties in accordance with the Schedule of Payments sheet of the Judgment.
Payment of criminal monetary penalties is due during the period of imprisonment. All criminal monetary
penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial Responsibility
Program, are to be made payable to the Clerk, U.S. District Court, 2211 U.S. Courthouse, 75 Ted Turner Drive,
SW, Atlanta, GA 30303. Any balance that remains unpaid at the commencement of the term of supervision shall
commence within 60 days after release from imprisonment on the following terms: payable at a rate of no less
than $250.00 monthly to U.S. District Court Clerk. You must notify the Court of any changes in economic
circumstances that might affect the ability to pay this financial penalty.


You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. §
1030(e)(l)), other electronic communications or data storage devices or media, or office, to a search conducted
by a United States Probation Officer. Failure to submit to a search may be grounds for revocation of release.
You must warn any other occupants that the premises may be subject to searches pursuant to this condition. An
officer may conduct a search pursuant to this condition only when reasonable suspicion exists that you violated a
condition of your supervision and areas to be searched contain evidence of this violation. Any search must be
conducted at a reasonable time and in a reasonable manner.


You must permit confiscation and/or disposal of any material considered to be contraband or any other item which
may be deemed to have evidentiary value of violations of supervision.
                  Case 1:18-cr-00098-SCJ-LTW Document 229 Filed 09/09/22 Page 7 of 7


DEFENDANT: MITZI BICKERS
CASE NUMBER: 1:1 8-CR-0098-SCJ Judgment - Page 7 of 7



Judgment in a Criminal Case
Sheet 5 - Criminal Monetary Penalties


                                        CRDMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                   Special Assessment


TOTAL $900.00

                   Restitution

TOTAL $2,955,106.51, joint and several with Elvin R. Mitchell, Jr. (1:17-CR-OO 15-SCJ)
                  and Charles P. Richards, Jr. (L-17-CR-0030-SCJ)


If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C.
§ 3664(i), all nonfederal victuns must be paid before the United States is paid.

 Name of Payee Restitution Ordered

City of Atlanta - Dept. of Law $2,955,106.51
c/o Nina Hickson
55 Trinity Ave., Suite 5000
Atlanta, GA 30303




*Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 1 14-22.
***Fmdings for the total amount of losses are required under Chapters 109A, 110, 110A, and 1 13A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23,1996.
